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 1                                                                       Hon. Richard A. Jones

 2

 3

 4

 5                         IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 6

 7
     TOM      MONTGOMERY           as    Personal    NO. 2:20-cv-00855-RAJ
 8   Representative of the Estate of MICHAEL
     TRAVIS CLINARD, deceased; JENNIFER              SECOND AMENDED COMPLAINT
 9   MONTGOMERY; T.C., by and through
     guardian ad litem Michael B. Smith; Z.C., by    JURY DEMANDED
10   and through guardian ad litem Michael B.
     Smith; A.C. by and through guardian ad litem
11   Michael B. Smith,

12   Plaintiffs,

13   v.

14   KING COUNTY, a political subdivision of the
     State of Washington, TODD CLARK, in his
15   personal capacity; JOHN DIAZ, in his personal
     capacity; HIKARI (KARI) TAMURA, in her
16   personal capacity; MYRON ALLEN, in his
     personal capacity; DANOTRA MCBRIDE, in
17   her individual capacity; STEWART HANNEY,
     in his personal capacity; CATHERINE
18   HOMER, in her personal capacity; BENJAMIN
     SANDERS, in his personal capacity; LISA
19   PETERSON, in her personal capacity;
     SUEANNE BRENT, in her personal capacity;
20   MICHAEL KILBOURNE, in his personal
     capacity; GLEN OCAMPO, in his personal
21   capacity; REBECCA E. SHANNON, F/K/A
     JANE DOE 2 (“SHANNON”), in her personal
22   capacity; SNOHOMISH COUNTY, a political
     subdivision of the State of Washington; JOHN
23   and JANE DOES 3-10, in their personal
     capacities,
24
     Defendants.
25
     SECOND AMENDED COMPLAINT - 1                                   Galanda Broadman PLLC
                                                                    8606 35th Avenue NE, Ste. L1
                                                                    Mailing: P.O. Box 15146
                                                                    Seattle, WA 98115
                                                                    (206) 557-7509
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 1           COMES NOW the above-named Plaintiffs, by and through attorneys Gabriel S. Galanda

 2   and Ryan D. Dreveskracht, of Galanda Broadman, PLLC, and by way of claim alleges upon

 3   personal knowledge as to themselves and their own actions, and upon information and belief upon

 4   all other matters, as follows:

 5                                          I.       INTRODUCTION

 6           1.      Suicide has been the leading cause of death in prisons every year since 2000.1 This

 7   risk is disproportionately high among inmates who are mentally ill. And mentally ill inmates are a

 8   demographic that has risen dramatically in recent years,2 representing what many researchers have

 9   deemed “a national public health crisis.” 3 These are facts that are well known to reasonable

10   corrections management, staff, and healthcare providers.4

11           2.      It is also well known that this crisis is not insurmountable. Utilizing knowledge of

12   the factors that put inmates at an increased risk of suicide, reasonable corrections administrators

13   formulate mental health and suicide prevention policies that target these dynamics. And if adequate

14   supervision and training is implemented, it is more likely than not that corrections staff can prevent

15   a majority of these suicides.

16           3.      Here, though, none of that happened. Defendant King County and its administrators

17   maintained and established inadequate practices and failed to train and supervise its employees. As

18   a result, numerous inmates have died. During Michael T. Clinard’s detainment at the Jail there

19   were multiple exchanges where his serious mental illness and suicidality was known, or should

20   have been known, and where appropriate treatment and interventions should have occurred, but did

21   not. Defendants’ acts and omissions set into motion a particularly unfortunate series of events that

22
     1
       MARGARET NOONAN, HARLEY ROHLOFF, AND SCOTT GINDER, U.S. DEP’T OF JUSTICE – BUREAU OF JUSTICE
23   STATISTICS, MORTALITY IN LOCAL JAILS AND STATE PRISONS 1 (2015).
     2
       E. FULLER TORREY, ET AL., THE TREATMENT OF PERSONS WITH MENTAL ILLNESS IN PRISONS AND JAILS 17 (2014).
24   3
       Jacques Baillargeon, Psychiatric Disorders and Repeat Incarcerations, 166 AM. J. PSYCHIATRY 103, 103 (2009).
     4
       WORLD HEALTH ORGANIZATION, PREVENTING SUICIDE IN JAILS AND PRISONS (2007); Anasseril E. Daniel, Care of
25   the Mentally Ill in Prisons, 35 J. AM. ACAD. PSYCHIATRY LAW 406 (2007).
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                                                                                    8606 35th Avenue NE, Ste. L1
                                                                                    Mailing: P.O. Box 15146
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 1   resulted in Michael’s death—what might glibly be referred to as a “comedy of errors” had it not

 2   involved such a tragedy.

 3                                            II.     PARTIES

 4          4.      TOM MONTGOMERY is the Personal Representative for the Estate of MICHAEL

 5   TRAVIS CLINARD. This is an action arising from Michael’s wrongful and unnecessary death and

 6   the Defendants’ negligence, gross negligence, and deliberate indifference to Michael’s serious

 7   medical condition and conditions of confinement. The claims herein include all claims for damages

 8   available under Washington and federal law to Michael, his Estate, and all statutory and actual

 9   beneficiaries, including his spouse and minor children.

10          5.      JENNIFER MONTGOMERY is Michael’s spouse. She brings suit in her Personal

11   Capacity and is entitled to damages for the loss of her husband.

12          6.      T.C., by and through guardian ad litem Michael B. Smith, is Michael’s minor child.

13   She brings suit in her Personal Capacity and is entitled to damages for the loss of her father.

14          7.      Z.C., by and through guardian ad litem Michael B. Smith, is Michael’s minor child.

15   She brings suit in her Personal Capacity and is entitled to damages for the loss of her father.

16          8.      A.C., by and through guardian ad litem Michael B. Smith, is Michael’s minor child.

17   He brings suit in her Personal Capacity and is entitled to damages for the loss of her father.

18          9.      Defendant KING COUNTY is a municipal corporation responsible for

19   administering the Department of Adult and Juvenile Detention (“DAJD”), which operates two adult

20   detention facilities: the Maleng Regional Justice Center in Kent and the King County Correctional

21   Facility (“Jail”) in downtown Seattle. The Jail is an adult corrections facility responsible for

22   providing proper custody, control, and supervision for county, state, and federal inmates in King

23   County. King County is also responsible for providing a safe and healthy environment for detainees

24

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                                                                              8606 35th Avenue NE, Ste. L1
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 1   and inmates within its custody at the Jail, including appropriate and necessary protection measures

 2   and medical and mental health care.

 3          10.     Defendant TODD CLARK is King County’s DAJD Corrections Major.                          He

 4   supervised, administrated, and managed all King County employees and corrections facilities at the

 5   time of Michael’s injuries, and was responsible for ensuring the presence and implementation of

 6   proper policies, procedures, and training. Defendant Clark was also responsible for the training,

 7   supervision, and discipline of King County employees and/or agents, including the below

 8   individually named Defendants and Does 2 through 10. He is sued in his personal capacity only.

 9          11.     Defendant JOHN DIAZ is King County’s DAJD Director.                  He supervised,

10   administrated, and managed all King County employees and corrections facilities at the time of

11   Michael’s injuries, and was responsible for ensuring the presence and implementation of proper

12   policies, procedures, and training.    Defendant Diaz was also responsible for the training,

13   supervision, and discipline of King County employees and/or agents, including the below

14   individually named Defendants and Does 1 through 10. He is sued in his personal capacity only.

15          12.     Defendant HIKARI (KARI) TAMURA is King County’s DAJD Deputy Director.

16   She supervised, administrated, and managed all King County employees and corrections facilities

17   at the time of Michael’s injuries, and was responsible for ensuring the presence and implementation

18   of proper policies, procedures, and training. Defendant Tamura was also responsible for the

19   training, supervision, and discipline of King County employees and/or agents, including the below

20   individually named Defendants and Does 2 through 10. She is sued in her personal capacity only.

21          13.     Defendant DANOTRA MCBRIDE is King County’s Jail Health Services Deputy

22   Division Director. She supervised, administrated, and managed all King County Jail Health

23   Services employees at the time of Michael’s injuries, and was responsible for ensuring the presence

24   and implementation of proper policies, procedures, and training. Defendant McBride was also

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 1   responsible for the training, supervision, and discipline of King County Jail Health Services

 2   employees and/or agents, including the below individually named Defendants and Does 2 through

 3   10. She is sued in her personal capacity only.

 4           14.     Defendants CLARK, DIAZ, TAMURA, and MCBRIDE shall hereinafter be

 5   referred to collectively as “Supervisory and Policymaking Defendants.” They were at all times

 6   state actors.

 7           15.     Individually named Defendants MYRON ALLEN, STEWART HANNEY,

 8   CATHERINE HOMER, BENJAMIN SANDERS, LISA PETERSON, MICHAEL KILBOURNE,

 9   SUEANNE BRENT, and GLEN OCAMPO are employees or subcontractors of King County. They

10   were at all times state actors. These Defendants knew that Michael was (1) in the need of medical

11   care; (2) suicidal; (3) in the midst of a mental health crisis; and/or (3) was housed in unconstitutional

12   conditions of confinement. In spite of this knowledge, these Defendants took no steps to prevent

13   serious injury and/or death to Michael. These Defendants were negligent; deliberately indifferent;

14   and/or acted in furtherance of an official and/or de facto policy or procedure of deliberate

15   indifference. These Defendants are sued in their personal capacities only.

16           16.     SNOHOMISH COUNTY is a municipal corporation responsible for administering

17   the Snohomish County Jail (“SCJ”), for which Defendant REBECCA E. SHANNON f/k/a JANE

18   DOE 2 (“SHANNON”) is employed and at all relevant times was acting in the scope of employment

19   for. Defendant Shannon knew that Michael was (1) in the need of medical care; (2) suicidal; and

20   (3) in the midst of a mental health crisis. In spite of this knowledge, Defendant Shannon took no

21   steps to prevent serious injury and/or death to Michael. Defendant Shannon was negligent and

22   deliberately indifferent. Defendant Shannon is sued in her personal capacity only.

23           17.     Defendants JOHN DOES 3 - 10 (“Defendants Doe”) are subcontractors, employees,

24   and/or agents of Defendants King County, or Snohomish County. These Defendants are persons

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                                                                                 8606 35th Avenue NE, Ste. L1
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                                                                                 (206) 557-7509
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 1   who knew that Michael was (1) in the need of medical care; (2) suicidal; (3) in the midst of a mental

 2   health crisis; and/or (3) was housed in unconstitutional conditions of confinement. In spite of this

 3   knowledge, these Defendants took no steps to prevent serious injury and death to Michael. Each

 4   Defendant Doe was negligent; deliberately indifferent; acted in furtherance of an official and/or de

 5   facto policy or procedure of deliberate indifference; and/or were responsible for the promulgation

 6   of the policies and procedures and permitted the customs/practices pursuant to which the acts

 7   alleged herein were committed. The identities of Defendants Doe unknown at this time and will be

 8   named as discovery progresses. Defendants Doe are sued in their personal capacities only.

 9                                 III.     JURISDICTION AND VENUE

10           18.     This action arises under Washington State’s wrongful death law and the Constitution

11   and laws of the United States, including 42 U.S.C. § 1983. This Court has subject matter

12   jurisdiction pursuant to 28 U.S.C. § 1331 and supplemental jurisdiction over the state law claims

13   pursuant to 28 U.S.C. § 1367.

14           19.     Venue is proper in the Western District of Washington pursuant to 28 U.S.C.§

15   1391(b)(1) and (b)(2). King County is located in this District, and the events and omissions giving

16   rise to the claims in this action occurred in this District.

17           20.     An RCW 4.92.100 Tort Claim was properly and timely filed with the King County

18   on March 24, 2020. Over sixty calendar days have elapsed since the claim was presented to King

19   County.

20           21.     An RCW 4.92.100 Tort Claim was properly and timely filed with Snohomish

21   County on May 13, 2020. Over sixty calendar days have elapsed since the claim was presented to

22   Snohomish County.

23

24

25
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                                                                              8606 35th Avenue NE, Ste. L1
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 1                                                  IV.      FACTS

 2   A.        BACKGROUND

 3             22.    Michael graduated with a Master of Arts degree in photography from the University

 4   of Iowa in 2005. Thereafter, he worked as a photographer’s assistant, honing his photography

 5   skills.

 6             23.    Michael’s big break came in 2010, when he landed a feature in Seattle Met, showing

 7   people preforming everyday activities in yoga poses.5

 8             24.    Over the next three years, Michael shot a number of stories for Seattle Met, and also

 9   began to build a National portfolio. He shot covers for the likes of Fortune 500, Adweek, and

10   Huffington Magazine.         By mid 2013, Michael was an eminent commodity in conceptual

11   photography.

12             25.    Still, though, Michael’s three children were the lights of his life:

13

14

15

16

17

18

19             26.    As Michael told one interviewer:

20             I’m a photographer, but equally, if not more importantly, I’m a father and husband,
               so there’s that conversation about how to balance a personal life with a professional
21             life. I feel that one’s personal life evolves at a pace that feels sometimes discordant
               or disproportionate to their professional life, and vice versa. In the end, all I can do
22             is what I do: keep being.6

23
     5
        Jessica Voelker, Yoga for Life, SEATTLE MET, Dec. 10, 2010, https://www.seattlemet.com/health-and-
24   wellness/2010/12/yoga-for-life-0111.
     6
       The Magical Mind of Michael Clinard, THIS IS THE WHAT, Jan. 27, 2014, http://www.thisisthewhat.com/2014/01/the-
25   magical-mind-of-michael-clinard.
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                                                                                       8606 35th Avenue NE, Ste. L1
                                                                                       Mailing: P.O. Box 15146
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 1           27.      Michael was unable to “keep being” on December 3, 2013, when he was violently

 2   attacked in Brooklyn, New York, where he was working. The beating left Michael with a broken

 3   knee cap and life-threatening traumatic brain injury (“TBI”).

 4           28.      Persons experiencing TBI are 65 percent more likely to develop schizophrenia, 59

 5   percent more likely to develop depression, and 28 percent more likely to develop bipolar disorder.7

 6   And, unfortunately, that is exactly what happened to Michael.

 7           29.      Despite coming home and receiving ongoing TBI care from UW Medical Center,

 8   Michael’s mental health began to decline. He was eventually diagnosed with post-traumatic stress

 9   disorder (“PTSD”), dysthymic disorder (depression), and bipolar disorder—all of which are well-

10   known suicide risk factors, even more so when combined.8

11           30.      The manifestation of Michael’s mental illnesses largely took the form of self-

12   medication and violent mood swings, which is not uncommon. The medical literature provides that

13   bipolar and PTSD patients are prone to agitation that can result in impulsive aggression during

14   manic and mixed episodes. Depressed states also involve intense dysphoria with agitation and

15   irritability, which can also increase the risk of violent behavior.

16           31.      In February of 2017, Michael’s mental illness got the best of him. In a drunken

17   stupor he lashed out at his wife, Jennifer. She immediately sought and obtained a temporary

18   protection order.

19           32.      Michael went into a tailspin. In the preceding six months Michael—who until that

20   point had no major criminal history—was charged with a DUI, reckless driving, and violating

21   Jennifer’s protective order.

22           33.      Much of this erratic behavior was self-harming. On March 22, 2017, for instance,

23
     7
      Sonja Orlovska, et al., Head Injury as Risk Factor for Psychiatric Disorders, 171 AM. J. PSYCH. 463 (2014).
24   8
      J.M. Carter, et al., Increased Suicidal Ideation in Patients with Co-Occurring Bipolar Disorder and Post-Traumatic
     Stress Disorder, 21 ARCH. SUICIDE RES. 621 (2016); Kate Robert & Suzanne Robbinss, The Relationship Between
25   Post- Traumatic Stress Disorder and Affective Disorder, 23 EMERG. MED. J. 935 (2006)
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                                                                                        8606 35th Avenue NE, Ste. L1
                                                                                        Mailing: P.O. Box 15146
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 1       Michael drove his car into a tree. In transport to the hospital, Michael told paramedics that he

 2       intended “to ‘end it all’ and hopes to commit suicide in the hospital.” Once at the hospital, though,

 3       Michal was given his prescribed medication (haloperidol and lorazepam), which brought him out

 4       of his mental health crisis. Michael had been on lorazepam since November of 2014.

 5                   34.   Jennifer’s hope was that this involvement in the legal system would provide Michael

 6       with the mental healthcare he needed. By all accounts, including hers, Michael was a good husband

 7   J
         and loved his children more than anything in the world. This was just a rough patch.

 8                   35.   A violation of Jennifer’s protective order landed Michael before Bothell Municipal

 9       Court Judge Michelle Gehlsen on June 12, 2017.
              2:12
10         I'm going
                 36. to layThe
                            down by swamp creek.
                                “violation”         Tell myofkids
                                               consisted          I was decent
                                                               leaving         sometimes
                                                                         a voicemail  onbut   by and large
                                                                                          Jennifer’s       I guess
                                                                                                        phone,     a piece
                                                                                                                  described   a
           of shit. You were the best ever; I'm sorry to Fahd wasted 11-12 years of your life. You were the first and the
           last. Glad I came through.
11       Bothell
           END OF Police
                     EMAIL Officer
                            COPY as follows:

12            I listened to the voice mail from Clinard forwarded by Montgomery. The message starts with a male
              stating, "Hey it's me. I'm sorry I texted you or whatever, and I'm calling you right now." The male goes
13            on to say something about being stabbed in the heart. The male begins crying and cries for much of the
              remaining time in the message. At one point the male states, "Please Jenna I can't do it and I won't."
14            The male states, "call me" before hanging up the phone. The message lasted for 1 minute and 19
              seconds.
15                   37.   Consistent with the despair expressed in the voicemail—described by Judge Gehlsen
              Due to the text message left at 0212 hours (see above), Montgomery made contact with Kenmore Police
16       as   (King County Sheriff). Montgomery was concerned about Clinard being suicidal. Montgomery told me
              an “ask for help”—at his pretrial detention hearing Michael, in the obvious midst of a mental
              Kenmore PD attempted to contact Clinard around 1000 hours on 02/23/17. Clinard was not contacted at
17            that time.
         health crisis, informed the Court and everyone in attendance that he intended to commit suicide in
18          Montgomery agreed to respond to the PD to complete a written statement. Montgomery told me she
         custody. Taken into custody on a $50,000 bail, Michael yelled at Judge Gehlsen, “I won’t live that
              would respond to the PD around 1630 hours.
19       long. I don’t intend to live past another two weeks! You just signed my death certificate!”
              I reviewed Temporary Order for Protection and Notice of Hearing No. 17-2-03740-1 SEAIssued out of
20            King County Superior Court on 02/15/2017. The WACIC record indicates Clinard was personally served
                    38.    The outburst had Michael escorted out of court. On the way out, Michael ostensibly
              on 02/16/17.
21       attempted to commit
            Under Section         suicide-by-cop
                          3, it states "Respondentby
                                                   is trying to head-butt
                                                      restrained          thenear
                                                                 from coming  security officerany
                                                                                  and having    ushering
                                                                                                  contact him out of
            whatsoever, in person or through others, by phone, mail, or any means, directly or indirectly, except for
22       themailing
             courtroom      and grabbing
                    or service  of processat
                                          of his taser.
                                             court documents by a 3rd party or contact by the respondent's
            lawyer(s) ...11
23                   39.   Obviously concerned for Michael’s wellbeing, Judge Gehlsen took a recess and
           I searched Clinard's associated phone number of record in TLO (database I frequently use during my
24         investigations). The phone number returned as being associated to Clinard with a probability of 99%
         upon return, without Michael’s presence:
           (high likelihood of number being associated to Clinard).
25
         SECOND   AMENDED
           Montgomery        COMPLAINT
                        provided            - 9 contact information for Clinard:
                                 the following                                               Galanda Broadman PLLC
                       nd                                                                    8606 35th Avenue NE, Ste. L1
           6731 NE 182 St B101 (The Spencer 68)
                                                                                             Mailing: P.O. Box 15146
           Kenmore WA 98028                                                                  Seattle, WA 98115
           (206) 372-7409                                                                    (206) 557-7509
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 1                 a. Raised Michael’s bail to $250,000, ensuring that he would remain in the care
                       and custody of King County, unable to follow through with his plan to commit
 2
                       suicide; and
 3
                   b. Recognized that there was an obviously “severe mental health component” to
 4                     his behavior and ordered Michael to undergo a King County designated mental
 5                     health professional (“DMHP”) evaluation while in custody, finding that he met
                       the “present[ing] an imminent likelihood of serious harm” criteria of RCW
 6
                       71.05.
 7          40.    The Judge Gehlsen’s colloquy with counsel regarding Michael’s “present[ing] an
 8   imminent likelihood of serious harm” to himself is haunting:
 9          Defense Counsel: Will you be requesting a mental health evaluation at this time?
10          Court: I could, but I don’t – Every time I have done a mental health while they’re
            in custody they won’t do anything because they’re not a harm to themselves or
11          others, because they’re in custody. . . .
            Defense Counsel: He did make that statement regarding –
12
            Court: Suicide.
13          Defense Counsel: Yeah. He wasn’t gonna last two weeks. That, that could qualify.

14          Court: Alright. Then I’ll have a DMHP evaluate him, um, while he’s in custody. .
            . . What I’m trying to, counsel, is – is – have the Designated Mental Health Provider
15          come in evaluate him now. How do we accomplish that? Do you know Madam
            Prosecutor? Or would the jail request?
16          Prosecutor: I don’t know how – specifically how it works – I know that – I
            understand your issue with holding him and asking for it, except for his – the
17          specificity of his statements, knowing he was going to be in custody, and I think
            that it would be naïve of us to not recognize that people have in fact committed
18          suicide in jail. Um, but, if it – it does seem to be something that you should be able
            to request, not just prior to release but in general. . . .
19
            Court: What I’ll just do is I’ll have Madam Clerk contact, uh – Was he taken to
            Snohomish County or to King County, do you know?
20
            Prosecutor: I’m guessing King County.
21          Defense Counsel: No, he – well – they told me Snohomish.
22          Court: So then we’ll contact Snohomish County Jail and see if they, um, are having
            a DMHP come – I, I mean I will order it – and then – based on the statements that
23          he made.

24

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                                                                              8606 35th Avenue NE, Ste. L1
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        1
                    41.      This was accomplished on the Order Setting Conditions of Release:
        2

        3

        4

        5

        6
DD7020SX
     7 CHT                              BOTHELL MUNICIPAL COURT                                        PAGE:          3
04/20/2020 8:57 AM                             D O C K E T
                                                                                        CASE:     31095 BOP
     8
DEFENDANT                                                                               Criminal Non-Traffic
  CLINARD, MICHAEL TRAVIS                                                               Agency No. 17-4668
        9
TEXT - Continued
     10
  U 06/12/2017     R. GIGER, FOR THE CITY                                                                          DMS
                   DEF IS NOT PRESENT
     11            ATD A. GARICK PRESENT
                   COURT NOTES PREVIOUS ACTIONS OF DEF THIS DAY
                 42.      At the time, Michael was being detained in the SCJ. Court records indicate that
                   COURT ORDERS BAIL SET TO $250,000
     12            COURT NOTES WILL ORDER MHP REVIEW IN CUSTODY
         Judge Gehlsen’s
                   0105 - Order
                              COURT forADDRESS
                                        a DMHP evaluation
                                                   RECUSINGwas    sentFOR
                                                                SELF     to the SCJ andHEARINGS
                                                                              FUTURE       that Defendant
                                                                                                      IF Shannon
     13            PARTIES WISH
         was expressly
                   106 -  advised  of Michael’sTIME
                            ATD REQUESTS         suicidal
                                                       TOoutburst:
                                                            NOTIFY COURT
     14            106   -  CITY    DOES    NOT  OBJECT     TO THIS COURT FOR FUTURE HEARINGS
                   AMENDED ORDER SETTING BAIL/CONDITIONS OF RELEASE FAXED TO
     15            SCJ - PHONE CALL TO REBECCA AT SNOCO JAIL TO ADVISE AMENDED
                   COMMITMENT AND COURTS ORDER FOR DMHP - DEF WAS MAKING
                   SUICIDAL STATEMENTS IN COURT
     16
  S                JTR KINGN Rescheduled to 08/09/2017 08:30 AM
                   in Room
                 43.           1 withwas
                          But Michael     Judge    MKG back to the SCJ. He was taken to the King County Jail.
                                             not taken
     17            PTR KINGN Set for 07/18/2017 11:00 AM
                   in Room 1 with Judge MKG
  U 18 Despite having
                   ORDERknowledge      of Michael’s
                            FOR SCRAM/GPS        W/ suicidal
                                                     EXCLUSIONoutburst and the
                                                                   ZONES         Judge Gehlsen’s
                                                                              ATTACHED      (PRIOR related
                                                                                                      TO Order for
                   RELEASE FROM CUSTODY)
     19  DMHP     evaluation,   and knowing
                   PER PSO ELSON,         DEF that
                                                WAS Michael
                                                     BOOKED was    being
                                                                INTO   KCJtransferred    to the King
                                                                              DUE TO PENDING            County Jail,
                                                                                                     FELONY
                   FILINGS - ORDER SETTING BAIL AT $250,000/CONDITIONS FOR
     20  Defendant    Shannon FAXED
                   RELEASE      failed toTO
                                          pass anyPER
                                             KCJ   of this information
                                                        OFFICER         to anyone at the King County Jail.
                                                                   REQUEST
                   *RECORDING MINUTES OF INCIDENT: 1114 / 1118                                                     MPH
  S                PTR
                 44.     KINGN:     Held
                          In the alternative, Defendant Shannon did pass this information to the King County       HXL
     21
  U 06/13/2017     AMENDED ORDER FOR DMHP EVALUATION SIGNED - FAXED TO DMHP                                        CNW
                   WITH DISCOVERY MATERIALS
     22 Jail, but it17165100005
  S 06/14/2017
                      was ignored.
                                      Miscellaneous Payment Received                                     1.35 EEP
                                      for COPY/TAPE FEES
  U 23           45.
                   FILE Court     records also indicate that Bothell Police Support Officer David Elson
                           IN CURRENT                                                                              MPH
  S 06/19/2017 PCN added to case                                                                                   CHT
         informed
  U 06/20/2017
     24              the Bothell  Municipal
                   FILED DMHP REPORT          Court that  Michael was   being   booked  into  the  King  County     Jail
                                                                                                                   DMS
    07/07/2017 NOTICE OF WITHDRAWAL AND SUBSTITUTION FILED                                                         MPH
  S      instead ofATY
                     the 2 LUFKIN,
                         SCJ.  Judge     JOHN LUCKY
                                      Gehlsen’s  Order  Added Conditions
                                                        Setting  as Participant
                                                                             of Release  was  then  faxed to  the  Jail:
     25            on 07/07/2017
         SECOND AMENDED        COMPLAINT - 11                                          Galanda Broadman PLLC
                   ATY 1 GARICK, ALEXEI CONRAD                     Removed on 07/07/2017
                                                                                       8606 35th Avenue NE, Ste. L1
  U                NOTICE OF APPEARANCE AND DEMAND FOR DISCOVERY Mailing:               FILEDP.O. Box 15146
    07/13/2017 DEF'S SENTINEL HOME DETENTION MONITORING ANKLESeattle,                          WA 98115
                                                                                          BRACELET
                                                                                       (206) 557-7509
                   DELIVERED TO COURT BY PSO ELSON. CLERK CONTACTED MOON
                          in CHT
                    DD7020SX Room 1 with JudgeBOTHELL
                                                MKG    MUNICIPAL COURT                                                                                                      PAGE:        3
                    04/20/2020
                          PTR KINGN Set for 07/18/2017O 11:00
                                 8:57 AM             D    C K E AM
                                                                T
                               Case 2:20-cv-00855-RAJ Document 42 Filed 11/03/20 Page
                                in Room 1 with Judge MKG                          CASE:12 of 34
                                                                                             31095 BOP
    U               DEFENDANT                                              Criminal
                          ORDER FOR SCRAM/GPS W/ EXCLUSION ZONES ATTACHED (PRIOR  TO Non-Traffic
                      CLINARD, MICHAEL TRAVIS
                          RELEASE FROM CUSTODY)                            Agency  No. 17-4668
         1TEXT - Continued
                                 PER PSO ELSON, DEF WAS BOOKED INTO KCJ DUE TO PENDING FELONY
                  FILINGS -R.ORDER
            U 06/12/2017                   GIGER,SETTING   FOR THEBAIL           CITY AT $250,000/CONDITIONS FOR                                                                         DMS
     2            RELEASE        FAXED           TO
                                 DEF IS NOT PRESENT      KCJ        PER          OFFICER                 REQUEST
                  *RECORDING     ATDMINUTES   A. GARICK        OF PRESENTINCIDENT: 1114 / 1118                                                                                      MPH
  S            46.PTR   The next day, June 13, 2017, Judge Gehlsen issued a second Order for HXL
                        KINGN:   COURT     Held  NOTES         PREVIOUS                      ACTIONS         OF    DEF            THIS         DAY                                  DMHP
     3
  U 06/13/2017    AMENDED ORDER  COURT ORDERS    FOR DMHP         BAIL       EVALUATION
                                                                                 SET TO $250,000           SIGNED - FAXED TO DMHP                                                   CNW
                  WITH DISCOVERY COURT NOTES        MATERIALS  WILL ORDER MHP REVIEW IN CUSTODY
     4 Evaluation:
  S 06/14/2017    17165100005    0105Miscellaneous
                                               - COURT ADDRESS                      Payment  RECUSING
                                                                                     KING HEALTH
                                                                                                                SELF FOR FUTURE HEARINGS
                                                                                                           Received                             Clinard, Michael           1.35 IF
                                                                                                                                                                              TravisEEP
                                 PARTIES              WISH
                                              for COPY/TAPE FEES                     INFORMATION                                                MRN: 970463351
  U 5             FILE IN CURRENT106 - ATD REQUESTS TIME                                           TO NOTIFY COURT                                                                  MPH
                                                                                     MANAGEMENT SERVICES
  S 06/19/2017 PCN added106             to- case CITY DOES NOT OBJECT TO THIS COURT FOR FUTURE HEARINGS
                                                                                     DEPARTMENT                                                                                     CHT
                                 AMENDED ORDER SETTING BAIL/CONDITIONS OF RELEASE FAXED TO
  U 06/20/2017 FILED DMHP REPORT                                                    401        5th    Avenue,      Suite          1300                                              DMS
     6                           SCJ - PHONE CALL TO REBECCA AT SNOCO JAIL TO ADVISE AMENDED
     07/07/2017 NOTICE OFCOMMITMENT     WITHDRAWAL                  AND          SUBSTITUTION
                                                                                    Seattle          WA    98104   FILED                                                            MPH
                                                              AND COURTS ORDER FOR DMHP - DEF WAS MAKING
  S               ATY 2 LUFKIN,  SUICIDAL        JOHN          LUCKY Added
                                                        STATEMENTS                      IN COURT     as Participant
     7      S     on 07/07/2017  JTR KINGN Rescheduled to 08/09/2017 08:30 AM
                  ATY 1Information
                Patient     GARICK,
                                 in RoomALEXEI        1 withCONRAD
                                                   (continued)            Judge MKG                      Removed on 07/07/2017
  U 8             NOTICE      OF        APPEARANCE
                Order-Level Encounter/Order Scanned Documents11:00
                                 PTR          KINGN        Set      AND
                                                                      for        DEMAND
                                                                                 07/18/2017            FOR     DISCOVERY
                                                                                                               -06/12/2017:  AM              FILED
                                                                                                                                            _(~~~~~ed ) _
     07/13/2017 DEF'S SENTINEL   in Room HOME         1 with     DETENTIONJudge MKGMONITORING ANKLE BRACELET
            U 47.DELIVERED
                        CourtORDER   records
                                        TO COURT FOR indicate
                                                           SCRAM/GPS
                                                               BY PSO      that ELSON.
                                                                                    the W/ Bothell
                                                                                                EXCLUSIONCLERKMunicipal
                                                                                                                      ZONES Court
                                                                                                                     CONTACTED             ATTACHED    faxed(PRIOR
                                                                                                                                                     MOON           Judge TO    Gehlsen’s
     9                           RELEASE              FROM        CUSTODY)
                  SECURITY AND WAS REFERRED                           •Date{Tjnie   TOStamp.Here
                                                                                               CONTACT SENTINEL           WKingCc,unty       MONITORING.
        Order for SENTINEL
                  DMHPDeferral   PER
                              Evaluation
                                    MONITORING
                                    Screening PSO and ELSON,  related
                                                                 CONTACTEDDEFmaterials
                                                                                   WAS BOOKED   - WILL to King  INTO County’s
                                                                                                                  FORWARD    KCJ           DUE      TO:i~~
                                                                                                                                               Department
                                                                                                                                            INFO
                                                                                                                                     Departmenttl_rAdU1tTO PENDING            FELONY
                                                                                                                                                                        of Community
                                                                                                                                                          ·1U~n-~e-_[kt~t_iDn
    10                           FILINGS - ORDER SETTING BAIL AT $250,000/CONDITIONS FOR
                  APPROPRIATE STAFF TO ARRANGE PICK UP OR SHIP-BACK OF THE
                                 RELEASE FAXED TO KCJ PER OFFICER REQUEST                                                                                             0
                  BRACELET *RECORDING
        Human Services:             TO THE AGENCY.                             (800-589-6003).
                                                              MINUTES OF INCIDENT: 1114 / 1118
                                                                                                                                                    Sc;attlc:.EIT<cnt
                                                                                                                                                                                         MPH
    11
     07/17/2017
            S     ATD LUFKIN     PTRCALLS     KINGN:WILL      HeldAPPEAR 7/18/17 830AM TO REQUEST                                                          Side ON                  EEP HXL
                  RECORD CASE
            U 06/13/2017         AMENDED ....
                                              BE DISMISSED
                                                      ORDER FOR
                                                       .,     ,.       .....
                                                                          .,   .,
                                                                                 -
                                                                                 DMHP    REQUEST
                                                                                   ..........   EVALUATION
                                                                                                 ...
                                                                                                            AND..
                                                                                                                     GIVEN
                                                                                                                       .. SIGNED
                                                                                                                           ........     ...
                                                                                                                                        ,.
                                                                                                                                            PROSECUTOR
                                                                                                                                    •· Uncooperati>'e/Comliative
                                                                                                                                             . -. FAXED TO DMHP
                                                                                                                                                                      OINFO              CNW
     07/18/2017   0900     JUDGE           GEHLSEN             PRESIDING                                                                                                            MPH
                                                                   '''"             """"       "'"'       '''   ,   ''   ''   "''   ,        ,   ,   ',




    12                           WITH
                                  . If         DISCOVERY
                                       ,;/1irdedque'stions are checked,   MATERIALS
                                                                              c~nrplele    form  tl,en col/RNinrn,ediatelyjorpositive          respo,m,s.
                  RULE
            S 06/14/2017   9 ERICKSON
                     • 08SERVATJQNS:
                                 17165100005           PRESENT
                                               checkalllhata    l
                                                               Miscellaneous   FOR THE CITY             Payment Received                                                           1.35 EEP
                      .
                  COUNSEL LUFKIN PRESENT,                 0    for
                                                              Obse~ble         Pain
                                                                               INFORMS
                                                                           .. COPY/TAPE                THE
                                                                                                        FEESCOURT DEF IS DECEASED
    13 B. U INTAKE       , FILES
                           SCREENING           IN, AND        HEALTHCARE GRANTED
                                                           ..     .,.                      ,          '




                  CITYDSorcs     FILE    ·
                                           MOTION     CURRENT
                                                            TO DISMISS -0Whcdclinir
                                                          DBrea1hingDifficulties                                                                                                         MPH
            S 06/19/2017[] Gro~y PCN•Cladded  Voniiting D         caseup B.Iood D Yellow Ey(!!;
                                                           toCoughing                                                                                                                    CHT
               48.      D
                        Just    one         hour     after      Michael’s                     suicidal      outburst,               Defendant              Ocampo,             who   is not
    14 continued on next page
Docket      U  06/20/2017  Severely  Agitated/ DMHP
                                 FILED           frn1iio11af.Beliavior
                                                              REPORT       •                                                                                                             DMS
               07/07/2017 NOTICE OF WITHDRAWAL AND SUBSTITUTION FILED                                                                                                                    MPH
            S                    ATY 2 LUFKIN, JOHN LUCKY Added as Participant
    15 health trained, filledonout             Michael’s Deferral Screening at the King County Jail, making the
                                           07/07/2017
                                 ATY 1 GARICK, ALEXEI CONRAD                                                          Removed on 07/07/2017
    16 following
            U     notations on   NOTICE the Mental            Health and Comments
                                                   OF APPEARANCE                             AND DEMANDsections:   FOR DISCOVERY FILED
               07/13/2017 DEF'S SENTINEL HOME DETENTION MONITORING ANKLE BRACELET
                                 DELIVERED TO COURT BY PSO ELSON. CLERK CONTACTED MOON
    17                           SECURITY AND WAS REFERRED TO CONTACT SENTINEL MONITORING.
                                 SENTINEL MONITORING CONTACTED - WILL FORWARD INFO TO
    18                           APPROPRIATE STAFF TO ARRANGE PICK UP OR SHIP-BACK OF THE
                                 BRACELET TO THE AGENCY. (800-589-6003).
               07/17/2017 ATD LUFKIN CALLS WILL APPEAR 7/18/17 830AM TO REQUEST ON                                                                                                       EEP
    19                           RECORD CASE BE DISMISSED - REQUEST AND GIVEN PROSECUTOR INFO
               07/18/2017 0900 JUDGE GEHLSEN PRESIDING                                                                                                                                   MPH
    20                           RULE 9 ERICKSON PRESENT FOR THE CITY
                                 COUNSEL LUFKIN PRESENT, INFORMS THE COURT DEF IS DECEASED
               49.      In doing CITYso,           Defendant
                                               FILES          MOTION          Ocampo
                                                                                 TO DISMISS        ignored        information passed to him by Bothell
                                                                                                             - GRANTED
        21
                    Docket continued on next page
                Officer Erik Martin, who explicitly informed Defendant Ocampo that Michael had made “suicidal
        22
                statements/threats”9 just one hour earlier:
        23

        24
                9
        25       Dkt. # 6.
                SECOND AMENDED COMPLAINT - 12                                                                                                             Galanda Broadman PLLC
                                                                                                                                                          8606 35th Avenue NE, Ste. L1
                                                                                                                                                          Mailing: P.O. Box 15146
                                                                                                                                                          Seattle, WA 98115
                                                                                                                                                          (206) 557-7509
                Case 2:20-cv-00855-RAJ Document 42 Filed 11/03/20 Page 13 of 34


 1

 2

 3

 4

 5          50.      Despite explicit notice of Michael’s violent outburst, Judge Gehlsen’s Order, and

 6   Michael’s obviously compromised mental state, Defendant Ocampo ignored this information.

 7          51.      King County has been on notice for over a decade that its “fail[ure] to adequately

 8   train and supervise intake staff” has resulted in “serious lapses and delays in treatment during its
            Patient Demographics
 9   intake process” and that these gaps “prevent
                                          MRN
                                                  inmates
                                                   Sex
                                                          from
                                                           DOB
                                                               receiving adequate treatment for acute
                                                                   Address
                 Patient Name                                                                          Phone

10   or chronic medical
            Printed       needs,
                    at King      placing
                            County Health them          of serious harm.”10
                                               at risk[206-263-8247]
                                          Department                                                            Page


11          52.      Yet that is exactly what happened here. The information regarding Michael’s

12   suicidality, suicidal outburst, and mental health crisis was entirely ignored throughout the intake

13   process and, in turn, the remainder of his stay at the Jail.

14          53.      After the Deferral Screening was completed, an examination was completed by

15   Defendants Stewart Hanney, RN; Catherine Homer, LPN; and Benjamin Sanders, MD—none of

16   whom are mental health providers, and none of whom took any interest in the documentation of

17   Michael’s suicidality earlier that day. It was in Michael’s medical chart, and in at least two court

18   orders finding that Michael met the “harm to self or others” requirement of RCW 71.05, but it was

19   ignored.

20          54.      The next day, June 13, 2017, Defendant Homer discovered that Michael’s treating

21   psychiatrist, Dr. Sang Suh, had prescribed him a number of medications for his serious mental

22   illnesses, including lithium, Zoloft, Adderall, and lorazepam.

23

24
     10
       U.S. DEP’T OF JUSTICE, CIVIL RIGHTS DIVISION, FINDINGS OF THE CIVIL RIGHTS DIVISION’S INVESTIGATION OF
25   CONDITIONS AT THE KING COUNTY CORRECTIONAL FACILITY 23 (2007).
     SECOND AMENDED COMPLAINT - 13                                               Galanda Broadman PLLC
                                                                                8606 35th Avenue NE, Ste. L1
                                                                                Mailing: P.O. Box 15146
                                                                                Seattle, WA 98115
                                                                                (206) 557-7509
                Case 2:20-cv-00855-RAJ Document 42 Filed 11/03/20 Page 14 of 34


 1             55.      From these prescriptions alone, any medical professional exercising his or her
                                          KING HEALTH
 2   professional judgment would have inferred  that Michael wasClinard,
                                          INFORMATION          MRN:
                                                                         MichaelTravis
                                                                   seriously
                                                                       970463351mentally ill. See Mraz v.
                                                          MANAGEMENT SERVICES
                                                          DEPARTMENT
 3   Astrue, No. 07-2672, 2008 WL 2561878, at *2 (N.D. Cal. June 26, 2008) (“Lithium is a well-
                                                          401 5th Avenue, Suite 1300
                                                          Seattle WA 98104

 4   established treatment for mania in bipolar disorder.”); Hamlin v. Colvin, No. 12-6369, 2013 WL
                   Progress Notes (continued)

 5   3708381, atLisa
                  *4Peterson
                     (C.D., Cal.
                             ARNPJuly   12, 2013)
                                  at 6/13/2017        (“Zoloft
                                               1.1:59 AM         is )a selective serotonin reuptake inhibitor used to
                                                         (continued
                  Dose and Frequency: 0.5 mg qd pm
                  Reason Prescribed: none given
 6   treat   depression,  obsessive-compulsive
                  Date Last Dispensed: 6-2-17         disorder, panic attacks,           and social anxiety disorder.”); Hill
                  Quantity Last Dispensed: 1 month supply
                  Prescriber Name and contact information: Dr. Suh 425-822-8153
 7   v. Ehrlich, No. 04-2562, 2005 WL 1220885, at *1 n.2 (D. Md. May 23, 2005) (“Adderall is a daily
               Source: Safeway
               Medication Name: Addera/1
 8   extended-release,
               Dose and single-entity    amphetamine
                          Frequency: 20 mg take 112-1bid indicated for the treatment                of ADHD.”); Niewierski v.
               Reason Prescribed: none given
               Date Last Dispensed: 5-9-17
 9   Astrue, 737  F. Supp. 2d 459, 465 n.8 (W.D. Pa. 2010) (“Lorazepam
               Quantity Last Dispensed: 1 mo supply
                                                                                                    is used to treat anxiety or
               Prescriber Name and contact information: Dr. Suh 425-822-8153
10   anxiety associated with symptoms of depression.”).
                  TC call to Dr. Suh to clarify lithium and Zoloft dose. Per Dr. Suh, pt has diagnosis Bipolar Disorder and should
11             56.be prescribed:·
                        Defendant Lisa Peterson, ARNP, conferred with Dr. Suh, who confirmed that
                  Lithium 300mg BID
                  Zoloft 150mg QD
12   Michael had been prescribed these medications. Peterson ordered the Lithium and Zoloft, but not
                Pt also has histor;-of taking:
                Depakote 750mg OHS
13   the   Adderall or lorazepam
                Vraylar 1.5mg BID       “per [Jail     Health Services] policies.” Defendant Peterson also took no
                  Based on review of the chart, the following action is taken regarding the patient's medication needs: Order
14   interest inlithium
                  the documentation
                        and Zoloft. Adderall of
                                              andMichael’s   suicidality
                                                  lorazepam not            earlier
                                                                continued per       that day,
                                                                              JHS policies;       instead
                                                                                            lorazepam  dose recommending
                                                                                                             is PRN and below as
                  dose that would require benzo taper. Reverse kite to pt.
15   follows:     Based on review of the chart, the following action is taken regarding the patient's psychiatric follow-up: Psych
                  P2 in 30 days.
16
     Michael’s “follow-up” was scheduled for July 12, 2017—a week after his death. Defendant
17
     Peterson did not evaluate or assess Michael.
18                   Electronically Signed by Lisa Peterson, ARNP at 6/13/2017 3:16 PM

               57.      On June 14, 2017, Defendant Kilbourne spoke with the DMHP mental health
19                Ordered Meds

     provider wholithium
                     relayed  to him information about Michael’s
                         300 mg capsule (Discontinued)
                                                          Disp
                                                          360 Cap
                                                                  violent
                                                                     Refills
                                                                     0
                                                                             outburst
                                                                                 Start
                                                                                       just two 7/7/2017
                                                                                 6/13/2017
                                                                                                 days earlier,
                                                                                                End

20                    Take 1 Cap by mouth 2 (two) times daily - oral
     Judge Gehlsen’s Order for DMHP evaluation, and Michael’s obviously compromised mental state.
                 Notes to Pharmacy: SD (Single Dose), Duration: 180 days
                 Reason for Discontinue: Therapy completed/Not needed
21                   sertraline (ZOLOFT) 50 mg tablet (Discontinued)         540 Tab     0           6/13/2017        7/7/2017
     This was news    toKing
              Printed at Defendant     Kilbourne—he
                             County Health                  was not aware of any DMHP referral. He looked
                                           Department [206-263-8247]                                 Page 13for
22
     one in Michael’s medical chart, and when he found no DMHP referral there he took no further
23
     action to either ensure that Michal was evaluated by a DMHP or to ensure Michael’s safety given
24
     the disturbing information relayed to him by the DMHP. This response by Defendant Kilbourne—
25
     SECOND AMENDED COMPLAINT - 14                                                                 Galanda Broadman PLLC
                                                                                                   8606 35th Avenue NE, Ste. L1
                                                                                                   Mailing: P.O. Box 15146
                                                                                                   Seattle, WA 98115
                                                                                                   (206) 557-7509
               Case 2:20-cv-00855-RAJ Document 42 Filed 11/03/20 Page 15 of 34


 1   or, more accurately, a lack of any response at all—fell far below the applicable standard of care and

 2   exhibits a failure to exercise any professional judgement at all.

 3            58.      On June 21, 2017, Michael requested treatment for his serious mental illness that the

 4   Lithium and Zoloft were not addressing. The next day, Michael met with Defendant Sanders and

 5   also disclosed his recent TBI, and requested to be evaluated by a mental health provider. Defendant

 6   Sanders reviewed Michael’s chart, assed him as having a “Hx of mental illness,” and made “[n]o

 7   additional treatment plan changes.”

 8            59.      Like the other medical and mental health providers before him, Defendant Sanders

 9   took no interest in the documentation of Michael’s TBI, serious mental illness, need for prescribed

10   medication (Adderall and lorazepam) or earlier vow to commit suicide in the Jail.

11            60.      On June 24, 2017, at approximately 12:08 p.m., Michael reported to Defendant

12   Sueanne Brent, RN, that, again, Lithium and Zoloft were not addressing his serious mental illnesses.

13   Michael “request[ed] to have [a] psych appt,” pleaded for some changes to his medication or some

14   semblance of a “plan of care,” and informed Defendant Brent that he was going through a divorce.

15            61.      Defendant Brent discussed “3 levels of psych housing” with Michael and told him

16   to kite “if s/sx get worse” and that he needed to wait for his “follow-up” appointment scheduled for

17   July 12, 2017, before he could receive any psychiatric care.11

18            62.      Like the other medical and mental health providers before her, Defendant Brent took

19   no interest in the lack of prescribed medication (Adderall, and lorazepam), Michael’s TBI, or the

20   documentation of Michael’s earlier vow to commit suicide in the Jail.

21            63.      Benzodiazepine withdrawal (including lorazepam) can be lethal. When a lorazepam

22   user stops using the drug “cold-turkey,” significant changes in brain chemistry rapidly occur. One

23

24   11
       “A ‘kite’ is a means of internal communication often used by prisons and state hospitals. Kites are essentially notes
     that patients and prisoners write to prison officials.” Bennett v. Turner, No. 15-4197, 2015 WL 9165926, at *7 n.3
25   (N.D. Iowa Dec. 16, 2015).
     SECOND AMENDED COMPLAINT - 15                                                        Galanda Broadman PLLC
                                                                                           8606 35th Avenue NE, Ste. L1
                                                                                           Mailing: P.O. Box 15146
                                                                                           Seattle, WA 98115
                                                                                           (206) 557-7509
              Clinard, Michael Travis            970463   Male   1/2/197 6731182 ST               000-000-0000 (Home)
                                                 351
                   Case 2:20-cv-00855-RAJ Document               9
                                                                       42B101
                                                                           Filed 11/03/20
                                                                         KENMORE WA 98028
                                                                                              Page 16 of 34
          Chief Com plaint
             Med Stat                                 hanging
 1   common effect of withdrawal from lorazepam is a significantly increased suicide risk.12 This is
          HPI
                Med Stat
 2   well-known    by comments:
           Additional  corrections and medical professionals exercising their professional judgment.
                                hanging
              Last edited by Jenise Temko, RN on 7/3/2017 8:03 PM. (History)
 3                 64.      The next note in Michael’s medical chart is on July 3, 2017, at 8:02 p.m.:
          Progress Notes
 4        Jenise Temko RN at 7/3/2017 8:02 PM
             Status: Signed

 5           Medical status 3 called at 1840 after pt found with ligature tied around his neck
             Pt unresponsive, no pulse. Medics notified
 6           1845 - CPR Begun, airway suctioned, pt bagged - pt skin dus.'<ycolored , unresponsive , blood to face ?
             From nose
             1844 - AED applied, no shock advised
 7                 CPR resumed,
                   AED no shock advised
 8           1850- medics arrive, They assume care

                   65.      Throughout the intake and screening process, there were multiple opportunities to
 9
     get Michael the psychiatric care that he needed, but each provider down the chain completely
10           Electronically Signed by Jenise Temko, RN at 7/3/2017 8:12 PM
     dropped the ball. Any jailer or medical provider exercising his or her professional judgment would
11
     view  any indication
        Encounter          of suicidal intent—especially a violent outburst, by a detainee with known
                  Information
12
          Vitals
     serious mental
          Wong        illness,
               Baker Pain       making
                          Scale 0- 5   very specific suicidal expressions—as more than enough to
13                 No pain information on file
     immediately make a referral to psychiatric housing to receive close monitoring, evaluation, and
14      Med and Imm Admins
          Immunizations Administered on Date of Encounter - 7/3/2017
     treatment.   Yet, despite his known serious mental
             No immunizations on file.
                                                                           illnesses, Michael did not even receive a
15
     psychiatric evaluation.
16        LOS and Disposition
            Level of Service
                   66.      An adequate psychiatric assessment—which was apparently scheduled for July 12,
17        Printed at King County Health Department [206-263-824 7]                                                   Page 43

     2017; nearly a month after intake and screening; nearly a month after Michael vowed in an open
18
     King County court to commit suicide in the Jail—would not simply ask the detainee if he or she is
19
     suicidal and take them at their word, as Defendants here did.
20
                   67.      Rather, an adequate assessment would take into account both acute and chronic
21
     suicide risk factors and arrive at a standardized suicide risk score. This would be based upon not
22

23

24   12
        Tyler J. Dodds, Prescribed Benzodiazepines and Suicide Risk: A Review of the Literature, 19 PRIM. CARE
     COMPANION CNS DISORD. e1 (2017); Douglas Turkington & Paul Gill, Mania Induced by Lorazepam Withdrawal, 17
25   J. AFFECTIVE DISORDER. 93 (1989).
     SECOND AMENDED COMPLAINT - 16                                                Galanda Broadman PLLC
                                                                                            8606 35th Avenue NE, Ste. L1
                                                                                            Mailing: P.O. Box 15146
                                                                                            Seattle, WA 98115
                                                                                            (206) 557-7509
             Case 2:20-cv-00855-RAJ Document 42 Filed 11/03/20 Page 17 of 34


 1   only self-report, but any available collateral sources as well (medical and mental health records).

 2   Known collateral sources would be obtained and the inmate’s assessment would be updated, as

 3   appropriate, as soon collateral sources can be reviewed.

 4   C.     EVENTS OF JULY 3, 2017

 5          68.     From the day that Michael arrived at the Jail, it was obvious that he was depressed

 6   and in the throes of a perilous mental state.

 7          69.     Fellow inmates interviewed after Michael’s death testified that “something wrong

 8   with him”; he was “not well”; he was “very depressed,” “stressed out,” “constantly pacing,” and

 9   “always bummed out.” Every inmate that genuinely interacted with Michael noticed it. Every

10   jailer exercising his or her professional judgment would have noticed it. Because, again, it was

11   obvious.

12          70.     At roughly 4:40 p.m. on July 3, 2017, the inmates in Michael’s cell were “racked

13   in” and a cell check was conducted. This is the last time that any type of wellness or safety check

14   was accomplished.

15          71.     Michael was allowed out of his cell for the evening because he was on cleaning duty

16   and, as a reward for fulfilling this duty inmates are allowed an hour or so out with free reign of the

17   television. Aside from making a phone call, though, Michael did not come out of his cell.

18          72.     At approximately 5:43 p.m., Michael spoke on the phone with his mother, Maria,

19   for just over four minutes. While on the phone Michael expressed that he was going to commit

20   suicide: “I’m done, I’m just done, . . . talk to you on the other side, love you.” Michael’s final

21   words to his mother were, “I’m doing what I need to do.”

22          73.     This conversation was being recorded and was heard by jailers and inmates who

23   reported it to jailers, but no steps to intervene in Michael’s suicide were taken.

24          74.     Michel then went and locked himself in his cell, where he was housed alone.

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                                                                               8606 35th Avenue NE, Ste. L1
                                                                               Mailing: P.O. Box 15146
                                                                               Seattle, WA 98115
                                                                               (206) 557-7509
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 1          75.      At 6:40 p.m., inmates discovered Michael hanging in his room from a ligature. His

 2   face was purple, but he was still breathing.

 3          76.      The inmates immediately notified Defendant Allen, who allegedly thought the

 4   inmates were “joking” and, according to one inmate’s account, “just walked away.”

 5          77.      It was not until a second and third time that Defendant Allen was informed of

 6   Michael’s suicide attempt that he took it seriously.

 7          78.      According to one inmate:

 8          [Defendant Allen] wasn’t even upstairs yet and I ran back and I was like, “Hey,
            bro. Hurry up. He’s purple. Like, what are you doing?” And then he, like, he, like,
 9          looked at us and then, like, there were still about, like, 30 seconds, and then, like, I
            ran and I was looking at 4 House and 5 House and they racked back, so people
10          racked back. . . . So the guard took his sweet time. H-he took like two minutes to
            get there.
11
            79.      In fact, much more time passed. Defendant Allen admitted in a subsequent interview
12
     that six crucial minutes had passed from the time he was first notified that Michael was hanging
13
     and when he finally entered the day room area.
14
            80.      According to Seattle Police Department’s Case Investigation Report:
15
            At approximately 1840 hours CO Allen said the inmate in 2 house notified him that
16          Clinard was not moving. CO Allen said that he initially thought the inmates in
            Upper A were joking with him. At approximately 1846 hours CO Allen went up to
17          the Upper A, day room area and subsequently to 3 house (Clinard’s cell) and saw
            that he was indeed not moving and there was blood on the floor.
18
            81.      Once he finally arrived at Upper A, instead of immediately attending to Michael,
19
     Defendant Allen made sure that all of the other inmates got in their rooms and that he had all of the
20
     doors closed.
21
            82.      According to Defendant Allen himself, this “took ‘em a minute to do that because
22
     they were all middling around because they were all curious what’s going on.” More crucial
23
     minutes passed.
24

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     SECOND AMENDED COMPLAINT - 18                                              Galanda Broadman PLLC
                                                                                8606 35th Avenue NE, Ste. L1
                                                                                Mailing: P.O. Box 15146
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                                                                                (206) 557-7509
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 1           83.      Defendant Allen then “walked in” Michael’s cell and asked his supine body, purple

 2   face and head, “What’s up, man? What’s goin’ on?” When Michael didn’t answer, Defendant Allen

 3   yelled “Hey!” to get Michael’s attention. When that didn’t work, Defendant Allen “called a Code

 4   3 over the radio”—which, according to Defendant Allen himself, “means somebody is either dying,

 5   died, or is in the process of killing himself.”

 6           84.      Instead of attempting to remove the ligature or provide lifesaving aid, though,

 7   Defendant Allen just stood there waiting for a response to his Code 3 call. In Defendant Allen’s

 8   own words: “I thought he was either dead or unconscious. . . . I didn’t touch him.” More crucial

 9   minutes passed.

10           85.      Officers Currier and Spicer were the first to respond to Defendant Allen’s call. Both

11   Officers Currier and Spicer fumbled with the cloth around Michael’s neck, without success. More

12   crucial minutes passed.

13           86.      Officer Currier yelled out for a “rescue knife,” which another Officer, Officer

14   Awasthi, retrieved from a secured location on the other end of the facility. More crucial minutes

15   passed. The knife was then handed off to Officer Julius, who ran it to Officer Currier, who was

16   finally able to cut it off.

17           87.      Michael was then removed from his cell to the “day room,” where CPR was
                                               King County Medical Examiner
18   administered by King County officers.
                                                     AUTOPSY REPORT

19           88.      Michael was pronounced dead by medical providers  at 7:10CLINARD
                                                                Michael Travis  p.m.
                                                                                      KCME 17~1318
                                                                                             Page 1
20           89.      On July 26, 2017, the King County Medical               Examiner concluded  as        follows:
                                                PATHOLOGICAL DIAGNOSES:
21
                             1. Ligature strangulation.
                                   a. Ligature furrow encircling neck.
22                                 b. Facial skin and conjunctiva! petechiae.

                             2. Attempted resuscitation with endotracheal intubation.
23
                                                           OPINION:
24                    The cause of death of this 38-year-old man found in his jail cell with a ligature
                      made from a torn bed sheet wrapped tightly about his neck is asphyxia due to
25                    ligature compression of neck. The manner of death is suicide.
     SECOND AMENDED COMPLAINT - 19                                                            Galanda Broadman PLLC
                                                                                              8606 35th Avenue NE, Ste. L1
                                                                                              Mailing: P.O. Box 15146
                                                                                              Seattle, WA 98115
                                                                                              (206) 557-7509
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 1   D.     KING COUNTY POLICY AND ESTABLISHED PRACTICE – MONELL, SUPERVISORY, AND
            POLICYMAKING LIABILITY
 2
            90.     The death by suicide of Michael was tragic and could have been prevented by
 3
     standard approaches to medical and mental health care management.
 4
            91.     The policies, established procedures, and protocols in place at the Jail—maintained
 5
     vis-à-vis its Supervisory and Policymaking Defendants—put Michael and all other similarly
 6
     situated patients at an increased risk of serious harm and death.
 7
            92.     That these policies, established procedures, and protocols would put similarly
 8
     situated patients at an increased risk of serious harm and death would be obvious to any medical or
 9
     mental health professional exercising his or her professional judgment.
10
            93.     King County—vis-à-vis its Supervisory and Policymaking Defendants—also failed
11
     to adequately train its employees, resulting in a condition that put Michael and all other similarly
12
     situated patients at an increased risk of serious harm and death.
13
            94.     That this failure to train would put similarly-situated patients at an increased risk of
14
     serious harm and death would be obvious to any medical or mental health professional exercising
15
     his or her professional judgment.
16
            95.     The scope of a medical or mental health provider’s duty to a patient is determined
17
     by the standard of care. Here, the jailers and medical and mental health staff were indifferent to the
18
     medical needs of Michael, and that indifference was indicative of a pattern of following below the
19
     standard of care in dealing with the needs of patients.
20
            96.     Michael would have not died at the time and in the manner that he did, had jailers
21
     and medical and mental health staff not been indifferent to his needs.
22
            97.     Jailers and medical and mental health staff’s indifference to Michael’s serious
23
     medical and mental health needs was ratified by Supervisory and Policymaking Defendants.
24

25
     SECOND AMENDED COMPLAINT - 20                                             Galanda Broadman PLLC
                                                                               8606 35th Avenue NE, Ste. L1
                                                                               Mailing: P.O. Box 15146
                                                                               Seattle, WA 98115
                                                                               (206) 557-7509
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 1             98.    Despite knowledge of Michael’s serious medical needs, jailers and medical and

 2   mental health staff failed to administer and attend to Michael in the evening of July 3, 2017. As a

 3   result, Michael was allowed to successfully take his own life.

 4             99.    Defendant Allen did not have a rescue tool on his person when he found Michael

 5   with cloth around his neck not breathing. Officers Currier and Spicer did not have a rescue tool

 6   either.

 7             100.   Hanging is the most common form of successful suicide in jails. This is well-known

 8   and was in fact known by King County and its Policymaking and Supervising Defendants.

 9             101.   Reasonable and prudent jailers and jail administrators possess or make immediately

10   available for their subordinates relatively inexpensive rescue tools:

11

12

13

14

15

16             102.   Defendant Allen and Officers Currier and Spicer’s failure to possess this type of tool

17   and King County's failure to make this type pf tool available to them, constitutes negligence and

18   deliberate indifference.

19             103.   Defendant Allen or Officers Currier and Spicer’s possession of this tool would have

20   prevented Michael’s extended period of suffocation and saved his life.

21             104.   All of the acts and omissions taken in regard to the care and custody of Michael were

22   in accordance with King County’s established practices and/or were ratified by the Policymaking

23   and Supervisory Defendants.

24

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     SECOND AMENDED COMPLAINT - 21                                              Galanda Broadman PLLC
                                                                                8606 35th Avenue NE, Ste. L1
                                                                                Mailing: P.O. Box 15146
                                                                                Seattle, WA 98115
                                                                                (206) 557-7509
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 1          105.    It is a common and widespread practice at the Jail to ignore information related to

 2   suicidality and healthcare in a measured attempt to avoid liability in a deliberate indifference action,

 3   by claiming a lack of knowledge.

 4          106.    King County has a policy of placing inmates’ cells without a cellmate (“solitary

 5   confinement”), without a mental health assessment, regardless of whether the inmate’s healthcare

 6   or mental healthcare needs contraindicated such confinement.

 7          107.    Reasonable and prudent jailers and jail administrators also do not utilize cloth-type

 8   sheets, which inmates can easily hang themselves with. King County and its Policymaking and

 9   Supervisory Defendants usage of cloth-type sheets, in the face of other suicides wherein cloth-type

10   sheets were utilized, constitutes negligence and deliberate indifference.

11          108.    Solitary confinement and similar types of confinement are well known by prudent

12   jail administrators to have exceedingly injurious effects on an inmate's mental health-which is why

13   a policy of housing mentally ill inmates in segregation without first adequately assessing risks to

14   an inmate's mental health is never allowed; it poses an unnecessary risk of harm to inmates.

15          109.    King County and its Policymaking and Supervisory Defendants were also negligent

16   and deliberately indifferent when they failed to adequately train individual Defendants. These

17   individual Defendants failed to perform their duties as described in this Complaint due to

18   inadequate training. King County and its Policymaking and Supervisory Defendants knew that

19   King County's training inadequately instructed its employees, but did nothing to change this policy.

20          110.    King County and its Policymaking and Supervisory Defendants failed to adequately

21   train officers and employees in suicide prevention.

22          111.    King County and its Policymaking and Supervisory Defendants failed to train

23   officers and employees in suicide prevention policies and procedures.

24

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     SECOND AMENDED COMPLAINT - 22                                               Galanda Broadman PLLC
                                                                                 8606 35th Avenue NE, Ste. L1
                                                                                 Mailing: P.O. Box 15146
                                                                                 Seattle, WA 98115
                                                                                 (206) 557-7509
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 1          112.       King County and its Policymaking and Supervisory Defendants failed to train

 2   officers and employees to properly monitor and to protect inmates.

 3          113.       King County and its Policymaking and Supervisory Defendants failed to train

 4   officers and employees to properly identify and monitor at-risk inmates.

 5          114.       King County and its Policymaking and Supervisory Defendants failed to train

 6   officers and employees in in-take procedure.

 7          115.       King County and its Policymaking and Supervisory Defendants failed to enforce

 8   policies and procedures for suicide prevention, including, but not limited to, policies and procedures

 9   for prisoner in-take and monitoring of prisoners.

10          116.       King County and its Policymaking and Supervisory Defendants failed to enforce the

11   aforesaid policies and procedures by disciplining officers and employees or by other means.

12          117.       King County and its Policymaking and Supervisory Defendants caused, permitted,

13   and allowed a custom and practice of continued and persistent deviations from policies and

14   procedures.

15          118.       King County and its Policymaking and Supervisory Defendants maintained

16   inadequate suicide prevention policies and procedures which, failed to identify and/or monitor at-

17   risk detainees.

18          119.       King County and its Policymaking and Supervisory Defendants maintained

19   inadequate in-take policies and procedures, which failed to identify at-risk detainees and failed to

20   identify and monitor prescription medication and treatment.

21          120.       King County and its Policymaking and Supervisory Defendants maintained

22   inadequate monitoring and safety check systems.

23

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     SECOND AMENDED COMPLAINT - 23                                             Galanda Broadman PLLC
                                                                               8606 35th Avenue NE, Ste. L1
                                                                               Mailing: P.O. Box 15146
                                                                               Seattle, WA 98115
                                                                               (206) 557-7509
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 1             121.   King County and its Policymaking and Supervisory Defendants maintained a policy

 2   of placing inmates into solitary confinement with ready means to commit acts of self-harm, without

 3   adequate review by a mental health provider prior to such a placement.

 4             122.   King County and its Policymaking and Supervisory Defendants failed to create

 5   systems of information sharing, communication, and clearly delineated roles and lines of authority

 6   for King County Jail staff, officers bringing in detainees from the street or other facilities, and/or

 7   courts.

 8             123.   King County and its Policymaking and Supervisory Defendants failed to provide

 9   sufficient resources to provide for the necessary medical care for mentally ill inmates.

10             124.   King County and its Policymaking and Supervisory Defendants maintained a policy

11   of using cursory mental health and suicide screening that essentially amounted to no screening at

12   all for incoming inmates.

13             125.   King County and its Policymaking and Supervisory Defendants maintained a policy

14   of not regularly monitoring inmates.

15             126.   King County and its Policymaking and Supervisory Defendants maintained a policy

16   of ignoring and refusing to implement relatively inexpensive suicide prevention measures.

17             127.   King County and its Policymaking and Supervisory Defendants maintained a policy

18   of refusing to allow inmates to obtain medically necessary prescribed medication (here, Adderall

19   and lorazepam).

20             128.   King County and its Policymaking and Supervisory Defendants maintained no

21   established protocol—written or unwritten—regarding the monitoring or medical treatment of

22   benzodiazepine (lorazepam) withdrawal syndrome, and otherwise refuses to acknowledge the well-

23   known dangers attendant to benzodiazepine (lorazepam) withdrawal syndrome, including increased

24

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     SECOND AMENDED COMPLAINT - 24                                             Galanda Broadman PLLC
                                                                               8606 35th Avenue NE, Ste. L1
                                                                               Mailing: P.O. Box 15146
                                                                               Seattle, WA 98115
                                                                               (206) 557-7509
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 1   suicide risk. Cf. Aus v. Salt Lake Cty., No. 16-0266, 2019 WL 3021217, at *8 (D. Utah Jul. 10,

 2   2019).

 3            129.   King County and its Policymaking and Supervisory Defendants maintained a policy

 4   of permitting employees to provide clearly inadequate suicide prevention care.

 5            130.   King County and its Policymaking and Supervisory Defendants have implemented

 6   a custom of improperly indemnifying, and of conspiring to indemnify jailers, for punitive damages

 7   assessed against those jailers by juries in civil rights cases, and this practice was a moving force

 8   that caused the violations of Michael’s rights, as alleged herein.

 9            131.   King County’s official policies remained static from 2015 to 2017. This, in and of

10   itself created a significant risk of serious harm. The danger in lack of a more frequent review of

11   policies is that they are not kept current with the emerging body of knowledge that guide most

12   competent corrections officials. Whether standards have changed as a result of litigation or due to

13   advancements in correctional knowledge, policies without frequent review are behind the times and

14   inadequate to provide sufficient guidance to facility staff, as is the case with the policies of the Jail.

15            132.   A death in a correctional facility is a very serious incident. A death by suicide or

16   diabetes complications typically causes an incident review to occur which includes a complete

17   accounting of what happened, what lessons can be learned from the event and what changes need

18   to be made in order decrease the likelihood that it occurs again. Had King County officials had an

19   adequate policy in place to review previous incidents of deaths by suicide, accommodations could

20   have been made that would have kept Michael safe and alive.

21            133.   Nothing is more fundamental in corrections work than regular safety checks to make

22   sure the inmates are safe. King County and its Policymaking and Supervisory Defendants failed to

23   have the appropriate policy in place in this regard. Had King County and its Policymaking and

24

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                                                                                 8606 35th Avenue NE, Ste. L1
                                                                                 Mailing: P.O. Box 15146
                                                                                 Seattle, WA 98115
                                                                                 (206) 557-7509
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 1   Supervisory Defendants kept their policies updated to reflect common correctional practices and

 2   standards, Michael’s death would have been prevented.

 3          134.    Each of the above policies and established practices amounts to negligence and

 4   deliberate indifference to the known and/or obvious risk of suicide and serious medical and safety

 5   needs of at-risk detainees, including Michael.

 6          135.    King County employees and subcontractors deliberately did not comply with formal

 7   policies and national standards, which evidences their deliberate indifference and negligence. See

 8   Salter v. Booker, No. 12-0174, 2016 WL 3645196, at *12 (S.D. Ala. June 29, 2016) (“Defendants

 9   acted with deliberate indifference when they failed to enforce or follow the written jail policies and

10   procedures put in place to protect suicidal prisoners.”).

11          136.    Defendants are not even trying; they have been negligent, grossly negligent, and

12   have showed deliberate indifference to the medical and safety needs of the inmates at the Jail. This

13   includes, again, failing to have and follow proper training, policies, and procedures for the care and

14   treatment of people in the Jail. It also includes a cold-hearted attitude on the part of staff and

15   subcontractors, who ignore medical and safety harms as they present and who turn a blind eye and

16   a deaf ear to people who have serious medical and safety needs.

17          137.    Each and every individually named Defendant had knowledge that a substantial risk

18   of serious harm existed as to Michael’s health and safety. King County and its Policymaking and

19   Supervisory Defendants had knowledge that their policies, customs, and/or protocols created a

20   substantial risk of serious harm as to Michael’s health and safety. But even if Defendants did not

21   have knowledge of the risk of harm, the risk created by their policies, customs, and/or protocols-

22   and lack thereof/lack of training thereon/lack of funding to implement-was obvious in light of

23   reason and the basic general knowledge that Defendants are presumed to have obtained regarding

24   the type of deprivation.

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     SECOND AMENDED COMPLAINT - 26                                             Galanda Broadman PLLC
                                                                               8606 35th Avenue NE, Ste. L1
                                                                               Mailing: P.O. Box 15146
                                                                               Seattle, WA 98115
                                                                               (206) 557-7509
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 1          138.    The acts and omissions caused by Defendants through their policies, practices,

 2   customs-including inadequate staffing, training, preparation, procedures, supervision, and

 3   discipline-were a proximate cause of Michael’s pain, suffering, death, and Plaintiffs’ damages.

 4   F.     DAMAGES

 5          139.    Michael was 38 years old at the time of his death. He left behind a loving wife and

 6   three lovely children.

 7          140.    The aforesaid acts and omissions of Defendants deprived Michael of his right to be

 8   free from cruel and punishment and to due process of law as guaranteed by the Fourteenth

 9   Amendment of the United States Constitution; directly caused and/or directly contributed to his

10   pain, suffering, and a general decline of his quality of life; directly caused and/or directly

11   contributed to cause his death; directly caused and/or directly contributed to cause his family to

12   suffer loss of services, companionship, comfort, instruction, guidance, counsel, training, and

13   support; and directly caused and/or directly contributed to cause his family to suffer pecuniary

14   losses, including but not limited to medical and funeral expenses.

15          141.    Prior to death, Michael suffered extreme physical and mental pain, terror,

16   humiliation, anxiety, suffering, and emotional distress.

17          142.    Michael’s death was completely unnecessary and could have been easily prevented

18   via provision of even the most basic medical care and treatment.

19                                              V. CLAIMS

20   A.     FIRST CAUSE OF ACTION – NEGLIGENCE—ALL DEFENDANTS

21          143.    Defendants had a duty to care for inmates and provide reasonable safety and medical

22   and psychiatric care.

23          144.    This duty extends to foreseeable self-inflicted harms and includes protecting inmates

24   against suicide and identifying at-risk inmates.

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     SECOND AMENDED COMPLAINT - 27                                           Galanda Broadman PLLC
                                                                             8606 35th Avenue NE, Ste. L1
                                                                             Mailing: P.O. Box 15146
                                                                             Seattle, WA 98115
                                                                             (206) 557-7509
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 1          145.    This duty is an affirmative one under both Washington State and federal law because

 2   prisoners, by virtue of incarceration, are unable to obtain medical and psychiatric care for

 3   themselves.

 4          146.    Defendants breached this duty, and were negligent, when they failed to have and

 5   follow proper training, policies, and procedures on the assessment of persons with apparent medical

 6   and psychiatric needs.

 7          147.    Defendants breached this duty, and were negligent, when they failed pass on vital

 8   lifesaving information from one institution or person to another.

 9          148.    Defendants breached that duty, and were negligent, when they failed to adequately

10   treat Michael’s medical and psychiatric needs. Indeed, because Michael’s medical and psychiatric

11   needs were entirely ignored, Defendants were grossly negligent.

12          149.    Defendants breached that duty, and were negligent, when they failed to have and

13   follow proper training, policies, and procedures on the provision of reasonable and necessary

14   medical and psychiatric care, treatment of inmates, and the passing on of information.

15          150.    Defendants breached that duty, and were negligent, when they failed to ensure

16   adequate and proper staffing at the Jail.

17          151.    Defendants breached that duty, and were negligent, when they failed to ensure that

18   Michael was properly supervised and/or that cell checks were conducted in a safe, timely, and

19   consistent manner.

20          152.    Defendants breached that duty, and were negligent, when they failed to ensure that

21   Michael received prescribed medication.

22          153.    Defendants breached that duty, and were negligent, when they ignored notification

23   of Michael’s serious mental health condition and suicidality.

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     SECOND AMENDED COMPLAINT - 28                                          Galanda Broadman PLLC
                                                                            8606 35th Avenue NE, Ste. L1
                                                                            Mailing: P.O. Box 15146
                                                                            Seattle, WA 98115
                                                                            (206) 557-7509
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 1          154.    Defendants breached that duty, and were negligent, when they failed to properly

 2   assess and treat Michael prior to his death.

 3          155.    As a direct and proximate result of the breaches, failures, and negligence of

 4   Defendants, as described above and in other respects as well, Michael was allowed to successfully

 5   take his own life.

 6          156.    Michael suffered unimaginable pre-death pain, suffering, embarrassment, and terror.

 7          157.    As a direct and proximate result of the breaches, failures, and negligence of

 8   Defendants, as described above and in other respects as well, Plaintiffs have incurred and will

 9   continue to incur economic and noneconomic damages in an amount to be determined at trial.

10          158.    As a direct and proximate result of the negligence of Defendants, Michael’s wife

11   and three children have suffered the loss of familial association with Michael. Plaintiffs have

12   suffered and continue to suffer extreme grief and harm due to mental and emotional distress as a

13   result of Michael’s wrongful death.

14   B.     SECOND CAUSE OF ACTION – 42 U.S.C. § 1983—KING COUNTY AND ALL INDIVIDUALLY
            NAMED DEFENDANTS
15
            159.    The acts and failure to act described above were done under color of law and are in
16
     violation of 42 U.S.C. § 1983, depriving Plaintiffs of their civil rights.
17
            160.    At the time Michael was detained by King County, it was clearly established in the
18
     law that the Fourteenth Amendment imposes a duty on jail officials to provide humane conditions
19
     of confinement, including adequate medical and mental health care, and to take reasonable
20
     measures to guarantee the safety of the inmates, including from self-harm.
21
            161.    Being subjected to unnecessary physical and mental pain and suffering is simply not
22
     part of the penalty that criminal offenders pay for their offenses against society. As a result,
23
     municipalities and Jail officials are liable if they know that an inmate or inmates face a substantial
24

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     SECOND AMENDED COMPLAINT - 29                                                Galanda Broadman PLLC
                                                                                  8606 35th Avenue NE, Ste. L1
                                                                                  Mailing: P.O. Box 15146
                                                                                  Seattle, WA 98115
                                                                                  (206) 557-7509
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 1   risk of serious harm and callously disregards that risk by failing to take reasonable measures to

 2   abate it.

 3           162.     Here, Defendants knew that Michael faced a substantial risk of suicide, yet callously

 4   disregarded that risk by failing to take reasonable measures to abate it.

 5           163.     Here, Defendants knew that Michael faced a substantial risk of harm or death due to

 6   his serious mental health condition, yet callously disregarded that risk by failing to take reasonable

 7   measures to abate it.

 8           164.     Having an inmate in custody creates a duty of care that must include enough

 9   attention to mental health concerns that inmates with obvious symptoms receive medical attention.

10   Defendants had numerous opportunities to meet their responsibilities to help Michael, but no one

11   did. One cannot avoid responsibility by putting one’s head in the sand.

12           165.     Here, King County and its Policymaking and Supervising Defendants knew of and

13   callously disregarded the excessive risk to inmate health and safety caused by King County’s

14   inadequate formal and informal policies, including a lack of training, funding, and supervision.

15           166.     King County and its Policymaking and Supervising Defendants knew of this

16   excessive risk to inmate health and safety because it was obvious and because numerous other

17   inmates had been injured and/or killed as a result of these inadequacies in the past.

18           167.     King County and its Policymaking and Supervising Defendants were responsible for

19   a policy, practice, or custom of maintaining a longstanding constitutionally deficient safety and

20   medical and mental health care, and training thereon, which placed inmates like Michael at

21   substantial risk.

22           168.     King County—at a bare minimum vis-à-vis its Department of Community Human

23   Services—knew of Judge Gehlsen’s Order for DMHP evaluation and Michael’s suicidal outburst,

24   yet ignored this information and the risk to Michael’s life that it represented. This was, again, due

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     SECOND AMENDED COMPLAINT - 30                                               Galanda Broadman PLLC
                                                                                 8606 35th Avenue NE, Ste. L1
                                                                                 Mailing: P.O. Box 15146
                                                                                 Seattle, WA 98115
                                                                                 (206) 557-7509
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 1   to King County’s policy of failing to pass on vital, lifesaving inmate information to those persons

 2   on the ground who are able to provide necessary healthcare care.

 3           169.     There was little to no supervision of Michael and inmates like him because King

 4   County and its Policymaking and Supervising Defendants maintained a known policy and custom

 5   of understaffing—leaving one jailer responsible for the care and wellbeing of over ninety inmates

 6   at a time. That this ratio would result in serious injury or death would have been obvious to any

 7   corrections management official exercising his or her professional judgment. According to the U.S.

 8   Department of Justice’s Bureau of Justice Statistics, for example, the average jailer-inmate ratio in

 9   the United States around the time of Michael’s death was one to four.13

10           170.     While it appears that King County did have a suicide prevention policy, King

11   County's actual policy was to ignore the written policy—written policy intended to protect inmates

12   from the foreseeable consequences of not following the written policy, including death by suicide.

13           171.     King County also has an impermissible policy of using cursory mental health

14   screenings and "check-box determinations" to determine that mentally ill inmates are not a danger

15   to themselves.

16           172.     King County had an unwritten policy of understaffing and indifference to inmate

17   supervision that was maintained with deliberate indifference. King County and its Policymaking

18   and Supervising Defendants know that the Jail is understaffed and that their employees often have

19   trouble completing all of their duties as a result of this understaffing. Yet these Defendants failed

20   to take any steps to correct these inadequacies.

21           173.     The Defendants’ lack of clear delineation of authority and inadequate means of

22   communication with respect to assessing risks of suicide was an additional policy that caused jailers'

23   failure to prevent Michael’s pain, suffering, and death. In essence, there is a "who's on first"

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25     ZHEN ZENG, JAIL INMATES IN 2016 (2018), available at https://www.bjs.gov/content/pub/pdf/ji16.pdf.
     SECOND AMENDED COMPLAINT - 31                                                    Galanda Broadman PLLC
                                                                                   8606 35th Avenue NE, Ste. L1
                                                                                   Mailing: P.O. Box 15146
                                                                                   Seattle, WA 98115
                                                                                   (206) 557-7509
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 1   problem at the Jail where an established practice of non-communication to one another or amongst

 2   themselves in regard to inmate suicidality and safety has been implemented. Exhibit A: The court

 3   order under which Michael was being detained included a mandatory evaluation for suicidality, due

 4   to his express statements in open court that he would kill himself in jail, yet nobody responsible for

 5   Michael’s care seemed to be aware of this vital information—or if they were, they chose not to

 6   acknowledge it. Michael was never evaluated by a DMHP, as Judge Gehlsen had ordered.

 7          174.    Defendants were subjectively aware that Michael was suicidal, or at a minimum in

 8   the midst of a mental health crisis. From this evidence, a reasonable jailer and/or healthcare

 9   provider would have been compelled to infer that a substantial risk of serious harm existed. Indeed,

10   Defendants did infer that a substantial risk of serious harm existed, but failed to take any steps to

11   alleviate this risk. And Michael died as a result.

12          175.    Defendants had a policy, custom, and practice of denying treatment, such as

13   prescribed medication; these policies, customs, and practices posed a substantial risk of serious

14   harm to the inmates in the jail, including Michael, and Defendants knew that its policies, customs,

15   and practices posed this risk.

16          176.    Defendants knew of a number of previous suicides and incidences of self-harm, yet

17   deliberately did nothing to provide its personnel with adequate training to prevent future suicides

18   and incidences of self-harm. Instead, Defendants acquiesced in a long-standing policy and custom

19   of inaction.

20          177.    Indeed, even without the previous in-custody deaths, it was obvious that a total lack

21   of training to appropriately address mentally ill inmates would result in the harm caused here. King

22   County and its Policymaking and Supervising Defendants were expressly informed that its official

23   policies were being ignored and that its unofficial or de facto policies would result in inmate deaths,

24   yet deliberately did nothing to address these unofficial or de facto policies.

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     SECOND AMENDED COMPLAINT - 32                                             Galanda Broadman PLLC
                                                                               8606 35th Avenue NE, Ste. L1
                                                                               Mailing: P.O. Box 15146
                                                                               Seattle, WA 98115
                                                                               (206) 557-7509
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 1           178.     King County had numerous opportunities to obtain training to appropriately address

 2   physically and mentally ill inmates, but knowingly and deliberately declined to obtain it.

 3           179.     King County has consistently failed to attend to the serious medical needs of

 4   inmates. King County and its Policymaking and Supervising Defendants knew that there were

 5   successful suicides in recent years, and that there were relatively inexpensive prevention measures

 6   available. Yet King County and its Policymaking and Supervising Defendants did not employ any

 7   of these measures. In addition, these Defendants knew that its employees were not providing

 8   adequate suicide prevention care, but continued to employ them nonetheless.

 9           180.     As a direct and proximate result of the deliberate indifference of Defendants, as

10   described above and in other respects as well, Michael died a terrible and easily preventable death.

11   He suffered pre-death pain, anxiety, and terror, before becoming asphyxiated, and leaving behind

12   a loving wife and three children.

13           181.     As a direct and proximate result of the deliberate indifference of Defendants,

14   Plaintiffs—Michael’s wife, two daughters, and one son—have each suffered the loss of familial

15   association with Michael, in violation of their Fourteenth Amendment rights. Plaintiffs, each of

16   them, have suffered and continue to suffer extreme grief and harm due to mental and emotional

17   distress as a result of Michael’s death.

18           182.     Defendants have shown reckless and callous disregard and indifference to inmates'

19   rights and safety, and are therefore subject to an award of punitive damages to deter such conduct

20   in the future.

21                                         VI.     JURY DEMAND

22           185.     Plaintiffs hereby demand a trial by jury.

23                                         VII.    AMENDMENTS

24           186.     Plaintiffs hereby reserves the right to amend this Compliant.

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     SECOND AMENDED COMPLAINT - 33                                             Galanda Broadman PLLC
                                                                               8606 35th Avenue NE, Ste. L1
                                                                               Mailing: P.O. Box 15146
                                                                               Seattle, WA 98115
                                                                               (206) 557-7509
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 1                                   VIII. RELIEF REQUESTED

 2          187.   Damages have been suffered by all Plaintiffs and to the extent any state law

 3   limitations on such damages are purposed to exist, they are inconsistent with the compensatory,

 4   remedial and/or punitive purposes of 42 U.S.C. § 1983, and therefore any such alleged state law

 5   limitations must be disregarded in favor of permitting an award of the damages prayed for herein.

 6          188.   WHEREFORE, Plaintiff requests a judgment against all Defendants:

 7                 (a)     Fashioning an appropriate remedy and awarding economic and noneconomic

 8                         damages, including damages for pain, suffering, terror, loss of consortium,

 9                         and loss of familial relations, and loss of society and companionship pursuant

10                         to 42 U.S.C. §§ 1983 and 1988, in an amount to be determined at trial;

11                 (b)     Punitive damages;

12                 (c)     Awarding reasonable attorneys' fees and costs pursuant to 42 U.S.C. § 1988,

13                         or as otherwise available under the law;

14                 (d)     Declaring the defendants jointly and severally liable;

15                 (e)     Awarding any and all applicable interest on the judgment; and

16                 (f)     Awarding such other and further relief as the Court deems just and proper.

17   Respectfully submitted this 3rd day of November, 2020.

18                                                       GALANDA BROADMAN, PLLC

19                                                        s/Ryan D. Dreveskracht
                                                         Ryan D. Dreveskracht, WSBA #42593
20                                                        s/Gabriel S. Galanda
                                                         Gabriel S. Galanda, WSBA #30331
21                                                       Attorneys for Plaintiffs
                                                         P.O. Box 15146 Seattle, WA 98115
22                                                       (206) 557-7509 Fax: (206) 299-7690
                                                         Email: ryan@galandabroadman.com
23                                                       Email: gabe@galandabroadman.com
24

25
     SECOND AMENDED COMPLAINT - 34                                           Galanda Broadman PLLC
                                                                             8606 35th Avenue NE, Ste. L1
                                                                             Mailing: P.O. Box 15146
                                                                             Seattle, WA 98115
                                                                             (206) 557-7509
